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EXHIBIT D
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CAPSTONE LOGISTICS HOLDINGS, INC.
2014 Equity Incentive Plan

RESTRICTED STOCK AWARD AGREEMENT

THIS AGREEMENT (the “Award Agreement”), is made effective as of July 6,
2015 (the “Date of Grant”), by and between Capstone Logistics Holdings, Inc., a Delaware
corporation (the “Company”), and Steve Willis (the “Participant”), Capitalized terms not
otherwise defined herein shall have the meanings set forth in the Capstone Logistics Holdings,
Inc, 2014 Equity Incentive Plan (the “Plan”).

 

RECITALS:

— a ey ee ee ee,

WHEREAS, the Company has adopted the Plan, which is incorporated herein by
reference and made a part of this Award Agreement; and

WHEREAS, the Committee has determined that it would be in the best interests
of the Company and its stockholders to grant the restricted stock award provided for herein to the
Participant pursuant to the Plan and the terms set forth herein.

NOW THEREFORE, in consideration of the mutual covenants hereinafter set
forth, the parties agree as follows:

1. Restricted Stock Award, Subject to the terms and conditions of the Plan and this
Award Agreement, the Company hereby grants to the Participant 210.645 Shares of Restricted
Stock (the “Restricted Shares”), which shall vest in accordance with Section 3 hereof. The fair
market value of the Restricted Shares at the time of transfer (determined without regard to any
lapse restriction, as defined in Treasury Regulation Section 1,83-3(i)) shall be equal to $449.64
per share,

2. Certificates, A certificate or certificates representing the Restricted Shares shall
be issued by the Company and shall be registered in the name of the Participant on the stock
transfer books of the Company promptly following execution of this Award Agreement by the
Participant, but shall remain in the physical custody of the Company or its designee at all times
prior to the time that the Restricted Shares vest in accordance with Section 3 hereof. As a
condition to the receipt of this Award Agreement, the Participant shall deliver to the Company a
stock power, duly endorsed in blank, relating to the Restricted Shares. Each certificate
representing the Restricted Shares shall bear the following legend:

“The ownership and transferability of this certificate and these shares are subject
to the terms and conditions (including forfeiture) of the Capstone Logistics
Holdings, Inc, 2014 Equity Incentive Plan and a Restricted Stock Award
Agreement entered into between the registered owner and Capstone Logistics
Holdings, Inc. Copies of such Plan and Agreement are on file in the executive
offices of Capstone Logistics Holdings, Inc.”

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As soon as administratively practicable, but not later than sixty (60) days,
following the vesting of the Restricted Shares, and upon the satisfaction of all other applicable
conditions, including, but not limited to, the payment by the Participant of all applicable
withholding taxes, the Company shall deliver or cause to be delivered to the Participant, ot in the
case of Participant’s death, Participant’s beneficiary, a certificate or certificates for the applicable
Shares of Restricted Stock which shall not bear the legend described above, but may bear such
other legends as the Company deems advisable.

3, Vesting and Forfeiture.

a. Vesting. Subject to the terms set forth in the Plan, the Restricted Shares
shall vest upon a Change in Control in the following percentages if the following performance
criteria have been achieved as of such Change in Control:

i. twenty-five percent (25%) of the Restricted Shares shall vest upon
such Change in Control if the Resolute Holders have received, with respect to Cash Invested, Net
Cash Proceeds of at least 2.0 times the Cash Invested;

ii, an additional twenty-five percent (25%) of the Restricted Shares
shall vest upon such Change in Control if (i) the Resolute Holders’ IRR, is equal to or greater
than 20% and (ii) the Resolute Holders have received, with respect to Cash Invested, Net Cash
Proceeds of at least 2.0 times the Cash Invested; and

iii. the remaining fifty percent (50%) of the Restricted Shares shall
vest upon such Change in Control if (i) the Resolute Holders’ IRR, is equal to or greater than
25% and (ii) the Resolute Holders have received, with respect to Cash Invested, Net Cash
Proceeds of at least 2.5 times the Cash Invested.

Any Restricted Shares which do not vest upon a Change in Control pursuant to this Section 3(a)
shall be forfeited by the Participant without any consideration.

“IRR” means, on any date, the annual percentage rate (compounded annually) which, when used
as the discount rate to calculate the net present value of all Net Cash Proceeds received by the
Resolute Holders in respect of Cash Invested through and including such date, causes such net
present value to equal the net present value of the Cash Invested (based on the actual dates such
amounts were received or paid),

“Cash Invested” means, on any date, without duplication, all cash invested by the Resolute
Holders in the Company on or before such date, whether in the form of a common equity
investment, preferred equity investment or other equity-like investment, but shall not include and
debt-like investments made by the Resolute Holders in the Company.

“Net Cash Proceeds” means, on any date, without duplication, any cash proceeds, dividends, or
distributions actually received by the Resolute Holders with respect to the Resolute Securities,
less all reasonable costs or expenses (including without limitation, legal or other advisor costs),
fees (including, without limitation, banking fees), commissions or discounts payable by the
Resolute Holders or their affiliates in connection with, arising out of or relating to any sale or

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other disposition of Resolute Securities; provided, however, that “Net Cash Proceeds” shall not
include any advisory, management, monitoring, transaction or other fees or any indemnification
payments or expense reimbursement recovered by the Resolute Stockholders or their affiliates.

“Resolute Securities” means all Securities purchased by the Resolute Holders on or after the date
hereof. ,

“Securities” and “Resolute Holders” shall have the meanings given them in the Stockholders’
Agreement.

b. Forfeiture. If the Participant’s employment with the Company is
terminated for any reason, the Restricted Shares, to the extent not then-vested, shall be forfeited
by the Participant without any consideration; provided, however, that if the Participant’s
employment is terminated by the Company without Cause or by the Participant with Good
Reason, then:

 

i. if such termination of employment occurs after the second
anniversary and prior to the third anniversary of the Date of Grant, eighty percent (80%) of the
Restricted Shares shal! be forfeited by the Participant without any consideration and twenty
percent (20%) of the Restricted Shares will continue to be eligible for vesting pursuant to S¢ ection
3(a) hereto;

i, if such termination of employment occurs on or after the third
anniversary and prior to the fourth anniversary of the date of grant, then sixty percent (60%) of
the Restricted Shares shall be forfeited by the Participant without any consideration and forty
percent (40%) of the Restricted Shares will continue to be eligible for vesting pursuant to Section
3(a) hereto;

iii. if such termination of employment occurs on or after the fourth
anniversary and prior to the fifth anniversary of the date of grant, then forty percent (40%) of the
Restricted Shares shall be forfeited by the Participant without any consideration and sixty
percent (60%) of the Restricted Shares will continue to be eligible for vesting pursuant to Section
3(a) hereto; and

 

iv. if such termination of employment occurs on or after the fifth
anniversary of the date of grant, then one hundred (100%) of the Restricted Shares will continue
to be eligible for vesting pursuant to Section 3(a) hereto.

Notwithstanding the foregoing, if (i) the Participant’s employment is terminated for any reason
other than by the Company without Cause or by the Participant with Good Reason or (ii) at any
time during the Restrictive Period, Participant breaches the restrictive covenants contained in
Section 8 hereto, all the Restricted Shares then outstanding shall be forfeited by the Participant
without any consideration.

4. Transferability. Unless otherwise determined by the Committee or as expressly
provided in the Plan. or the Stockholders’ Agreement, the Participant shall not be permitted to
transfer or assign the Restricted Shares.

 

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5, Compliance with Securities Act.

a The issuance and delivery of Restricted Shares pursuant to this Award
Agreement shall comply with (or be exempt from) all applicable requirements of law, including,
without limitation, the Securities Act of 1933, as amended, the rules and regulations promulgated
thereunder, state securities laws and regulations, and the regulations of any stock exchange or
other securities market on which the Company’s securities may then be traded, The Company
shall not be obligated to file any registration statement under any applicable securities laws to
permit the purchase or issuance of any Shares under this Award Agreement, and accordingly any
certificates for Shares or documents granting Awards may have an appropriate legend or
statement of applicable restrictions endorsed thereon, If the Company deems it necessary to
ensure that the issuance of Shares under this Award Agreement is not required to be registered
under any applicable securities laws, the Participant shall deliver to the Company an agreement
ot certificate containing such representations, warranties and covenants as the Company may
reasonably require.

b, The Restricted Shares have not been registered under the Securities Act.
The Restricted Shares are being issued to the Participant in reliance upon either (i) the exemption
from such registration provided by Rule 701 promulgated under the Securities Act of 1933, as
amended, together with the rules and regulations promulgated thereunder (the “Securities Act”)
for stock issuances under compensatory benefit plans such as the Plan or, (ii) the exemptions
under Section 4(2) and Regulation D of the Securities Act.

c, The Participant hereby confirms that he or she has been informed that the
Restricted Shares are “restricted securities” under the Securities Act which may not be resold or
transferred unless they are first registered under the Securities Act or unless an exemption from
such registration is available, Accordingly, the Participant hereby represents and acknowledges
as follows:

i, The Restricted Shares are being acquired for investment, and not
with a view to sale or distribution thereof;

il. The Participant is prepared to hold the Restricted Shares for an
indefinite period and is aware that Rule 144 promulgated under the Securities Act (which
exempts certain resales of securities) is not presently available to exempt the resale of the
Restricted Shares from the registration requirements of the Securities Act; and

iii, | The Participant is an “accredited investor” within the meaning of
Rule 501 (c) of Regulation D of the Securities Act by virtue of the Participant’s position with the
Company, income, assets or otherwise.

6. Rights as Stockholder. The Participant shall have no voting rights as a
stockholder with respect to any shares of Stock until the Restricted Shares vest. The Participant
shall have the right to receive dividends on the Restricted Shares (the “Dividends”) subject to the
remainder of this Section 6, The Dividends, if any, shall be held by the Company and shall be
subject to forfeiture until such time that the Restricted Shares on which the Dividends were
distributed vest in accordance with Section 3(a) above. The Dividends shall be released to the

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Participant at such time, if ever, that the Restricted Shares on which the Dividends were
distributed vest in accordance with Section 3(a) above. Upon a forfeiture as described in Section
3(b) hereto, the Participant shall no longer have any rights as a holder of such Shares.

a Certain Agreements, The Participant hereby further acknowledges and agrees
that the Restricted Shares are and shall be subject to the terms and provisions of, and as a
condition to the grant and effectiveness of this Award, the Participant shall enter into and
execute, the Stockholders’ Agreement dated August 22, 2014, as amended or modified from time
to time, among the Company and the other persons named therein (the “Stockholders’

Agreement”).
8. WNon-Competition: Non-Solicitation,

a, Definitions, For purposes of this Section 8, the following terms shall have
the following meanings unless the context indicates otherwise:

“Business” shall have the meaning set forth in the Stockholders’ Agreement.
“Competitor” shall have the meaning set forth in the Stockholders’ Agreement.

“Customer” means any customer of the Company or any of its Subsidiaries that
(i) has purchased, or entered into a contract to purchase, products or services from the Company
ot any of its Subsidiaries during the two (2) year period preceding the date of termination of the
Participant’s employment, (ii) was called upon or solicited in writing by the Company or any of
its Subsidiaries (or their predecessors) during such two (2) year period, or (iii) was a distributor,
sales representative, agent or broker for the Company or any of its Subsidiaries (or their
predecessors) during such two (2) year period.

“Restricted Period” means the period ending on the two (2) year
anniversary of the termination of Participant’s employment by the Company or any of its
Subsidiaries,

b. Confidentiality. Participant recognizes and acknowledges that Participant
has and may in the future receive certain confidential and proprietary information and trade
secrets of the Company and its Subsidiaries (the “Confidential Information”), and that such
Confidential Information constitutes valuable, special and unique property of the Company. The
term Confidential Information will be interpreted to include all information of any sort (whether
or embodied in a tangible or intangible form) that is (i) related to the Company’s and its
Subsidiaries’ current or potential business (including information received by the Company or
any of its Subsidiaries for third parties), and (ii) is not generally or publicly known.. Participant
agrees not to disclose or use for Participant’s own account any Confidential Information without
the Board’s prior written consent, except (A) if the Confidential Information is a matter of public
knowledge on the date hereof, (B) to the extent that any Confidential Information becomes
generally known to and available for use by the public other than as a result of Participant’s acts
or omissions; (C) to the extent that any Confidential Information is required to be disclosed
pursuant to any applicable law or court order; or (D) to Participant’s attorneys and accountants or
other representatives; provided that, in the case of subsection (D) hereof, Participant shall cause

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each Person receiving such Confidential Information to be informed that such Confidential
Information is confidential and subject to this Agreement and to agree not to disclose or use such
information except as provided herein. Participant acknowledges and agrees that all notes,
records, reports, sketches, plans, unpublished memoranda or other documents, whether in paper
ot electronic form (and copies thereof), held by Participant concerning any information relating
to the Company’s and its Subsidiaries’ business, whether confidential or not, are the property of
the Company and will be promptly delivered to it upon the termination of Participant’s
ownership of Participant’s Securities.

c. Nonsolicitation, During the Restricted Period, the Participant shall not,
directly or indirectly, and will cause the Participant’s employees, agents and affiliates not to,
induce or attempt to induce any employee, sales representative, consultant or other agent of the
Company or any of the Company Subsidiaries to terminate his, her or its relationship with, ot
breach any agreement with; the Company or such Company Subsidiary, provided that any
general solicitation not specifically directed to the employees, sales representatives, consultants
or other agents of the Company or any of the Company Subsidiaries shall not constitute a breach

of this Section 8{c).

d. Noncompetition, During the Restricted Period, the Participant shall not,
directly or indirectly, and will cause its employees, agents and affiliates not to, either directly or
indirectly, (i) contact or solicit any Customer for the purpose of providing products or services
competitive with those offered by the Company and the Company Subsidiaries as of the date
hereof, (ii) request or advise any Customer or any supplier or vendor to the Company or any
Company Subsidiary to withdraw, curtail or cancel any of its business or relations with the
Company or such Company Subsidiary, as applicable, or (iii) participate in the Business.

€. Nondisparagement, The Participant shall not, directly or indirectly, make any
statement, whether in commercial or noncommercial speech, disparaging or criticizing in any
way the Company or any of its affiliates or any of their respective officers or employees, ot
knowingly engage in any other conduct or make any other statement that is likely to impair the
goodwill or reputation of the Company or any of its affiliates. This Section 8(e) does not, in any
way, restrict or impede the Participant from exercising protected rights to the extent that such
tights cannot be waived by agreement or from complying with any applicable law or regulation
or a valid order of a court of competent jurisdiction or an authorized government agency,
provided that such compliance does not exceed that required by the law, regulation or order or
testifying truthfully under oath.

f. Enforcement. If, at the time of enforcement of any provision of Sections
8(c), 8(d) or 8(e), a court shall hold that the duration, scope or area restrictions stated therein are
unreasonable under circumstances then existing, the parties agree that the maximum duration,
scope or area reasonable under such circumstances shall be substituted for the stated duration,
scope or area and that the court shall be allowed to revise the restrictions contained therein to
cover the maximum period, scope and area permitted by law. Because Participant has access to
Confidential Information, the parties hereto agree that money damages would not be an adequate
remedy for any breach of Sections 8(b), 8(c), 8(d) or 8(e). Therefore, in the event ofa breach or
threatened breach of Sections 8(b), 8(c), 8(d) or 8(e), the Company or any of its successors or

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assigns may, in addition to other rights and remedies existing in their favor, apply to any court of
competent jurisdiction for specific performance and/or injunctive or other relief in order to
enforce or prevent any violations of the provisions hereof (without posting a bond or other
security and without proving actual damages). In addition, in the event of a breach or violation
by Participant of any provision of Sections 8(c), 8(d) or 8), the Restricted Period shall be
tolled until such breach or violation has been duly cured. The existence of any claim or cause of
action by Participant against the Company or any of its affiliates, whether predicated on this
Agreement or otherwise, will not constitute a defense to the enforcement by the Company of the
provisions of Sections 8(b), 8(c), 8(d) or 8(e), which Sections will be enforceable
notwithstanding the existence of any breach by the Company.

g Further Acknowledgments, Participant expressly agrees and
acknowledges that the restrictions contained in Sections 8(b), 8(c), 8(d) and 8(¢) do not preclude
Participant from earning a livelihood, nor do they unreasonably impose limitations on
Participant’s ability to earn a living, In addition, Participant agrees and acknowledges that the
potential harm to the Company of the non-enforcement of Sections 8(b), B(c), 8(d) and 8(e)
outweighs any harm to Participant of his or her enforcement by injunction or otherwise.
Participant acknowledges that Participant has carefully read this Agreement and has given
careful consideration to the restraints imposed upon Participant, and is in full accord as to their
necessity for the reasonable and proper protection of the Confidential Information. Participant
expressly acknowledges and agrees that (i) each and every restriction imposed by this Agreement
is reasonable with respect to subject matter and time period and such restrictions are necessary to
protect the Company’s interest in, and value of, the Company (including, without limitation, the
goodwill inherent therein), and (ii) the Company would not have consummated the transactions
contemplated herein without the restrictions contained in Sections 8(b), 8(c), 8(d) and 8(e).
Participant understands and agrees that the restrictions and covenants contained in Sections 8b),
8(c), 8(d) and 8(c) are in addition to, and not in lieu of, any non-competition, non-solicitation or
other similar obligations contained in any other agreements between Participant and the
Company.

9, Withholding Taxes. The Company shall have the power and the right to deduct or
withhold automatically from any payment or Shates deliverable under this Award Agreement, or
require the Participant to remit to the Company, the minimum statutory amount to satisfy federal,
state, and local taxes, domestic or foreign, required by law or regulation to be withheld with
respect to any taxable event arising as a result of this Award Agreement.

10. Effect Upon Employment. Nothing in this Award Agreement or the Plan shall be
construed to impose any obligation upon the Company or any Subsidiary to employ or retain in
its employ, or continue its involvement with, the Participant or interfere in any way with any
right of the Company or any of its Subsidiaries or affiliates to terminate such employment at any
time for any reason whatsoever (whether for cause or without cause) without liability to the
Company or any of its Subsidiaries or affiliates.

ll. Section 83(b) Election. The Participant shall make an election with the Internal
Revenue Service (the “IRS”) under Section 83(b) of the Code and the regulations promulgated
thereunder (“83(b) Election”) and the Participant shall provide a copy of such form to the

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Company promptly following its filing, which is required under current law to be filed with the
IRS no later than thirty (30) days after the Date of Grant of the Restricted Shares, The form for
making an 83(b) Election is attached hereto as Exhibit A. The Participant is advised to consult
with his or her own tax advisors regarding the purchase and holding of the Restricted Shares, and
the Company shall bear no liability for and the Participant shall be responsible for any
consequence of the Participant making an 83(b) Election. The Participant acknowledges that it is
his or her sole responsibility, and not the Company’s, to file a timely election under Code
Section 83(b), even if the Participant requests the Company or its representatives to make this
filing on his or her behalf.

12. General Provisions.

a. Amendment, This Award Agreement, including the Plan, contains the full
and complete understanding and agreement of the parties hereto as to the subject matter hereof,
and except as permitted under the terms of the Plan, this Award Agreement may not be modified
or amended, nor may any provision hereof be waived, except by a further written agreement duly
signed by the Company and Participant. The waiver by either of the parties hereto of any
provision hereof in any instance shall not operate as a waiver or any other provision hereof or in
any other instance.

b. Binding Effect, This Award Agreement shall inure to the benefit of and
be binding upon the parties hereto and, to the extent provided herein and in the Plan, their
respective heirs, executors, administrators, representatives, successors and assigns.

C. Incentive Equity Plan; Construction, The Participant hereby
acknowledges receipt of a copy of the Plan. Except as otherwise provided in this Award
Agreement, all of the terms and conditions of the Plan are incorporated herein by reference and
this Award Agreement is subject to such terms and conditions in all respects. In case of any
conflict between the Plan and this Award Agreement, this Award Agreement shall control. The
titles of the sections of this Award Agreement and of the Plan are included for convenience only
and shall not be construed as modifying or affecting their provisions. The masculine gender
shall include both sexes; the singular shall include the plural and the plural the singular unless
the context otherwise requires.

d, Exclusive Agreement, The Participant hereby acknowledges and agrees
that by signing this Award Agreement, the Participant voluntarily and irrevocably forfeits any
and all rights, title, and interests the Participant has or may have had in, to and under (a) any
award agreement or other similar document pursuant to which the Company (or any Subsidiary
or affiliate thereof) may have previously granted, or offered to grant, Restricted Shares in the
Company (or any Subsidiary or affiliate thereof) to the Participant and (b) any oral or written
commitment or promise regarding Restricted Shares that the Company (or any Subsidiary or
affiliate thereof) may have made to the Participant.

e Survival. Section 3 through Section 12 of this Award Agreement and any
defined terms used in such Sections shall survive the termination of the Participant’s
employment by the Company or its Subsidiaries.

 

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f. Mutual Waiver of Jury Trial. THE COMPANY AND PARTICIPANT
WAIVE THEIR RESPECTIVE RIGHT TO A TRIAL BY JURY OF ANY CLAIM OR CAUSE
OF ACTION BASED UPON OR ARISING OUT OF OR RELATED TO THIS AGREEMENT
IN ANY ACTION, PROCEEDING OR OTHER LITIGATION OF ANY TYPE BROUGHT BY
ANY OF THE PARTIES AGAINST ANY OTHER PARTY OR ANY AFFILIATE OF ANY
OTHER SUCH PARTY, WHETHER. WITH RESPECT TO CONTRACT CLAIMS, TORT
CLAIMS OR OTHERWISE. THE COMPANY AND PARTICIPANT AGREE THAT ANY
SUCH CLAIM OR CAUSE OF ACTION SHALL BE TRIED BY A COURT TRIAL
WITHOUT A JURY. WITHOUT LIMITING THE FOREGOING, THE PARTIES FURTHER
AGREE THAT THEIR RESPECTIVE RIGHT TO A TRIAL BY JURY IS WAIVED BY
OPERATION OF THIS SECTION AS TO ANY ACTION, COUNTERCLAIM OR OTHER
PROCEEDING WHICH SEEKS, IN WHOLE OR IN PART, TO CHALLENGE THE
VALIDITY OR ENFORCEABILITY OF THIS AGREEMENT OR ANY PROVISION
HEREOF. THIS WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS,
RENEWALS, SUPPLEMENTS OR MODIFICATIONS TO THIS AGREEMENT.

. Choice of Law: Exclusive Venue. THIS AGREEMENT, AND ALL
ISSUES AND QUESTIONS CONCERNING THE CONSTRUCTION, VALIDITY,
ENFORCEMENT AND INTERPRETATION OF THIS AGREEMENT AND THE PLAN
WILL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF
DELAWARE, WITHOUT GIVING EFFECT TO ANY CHOICE OF LAW OR CONFLICT OF
LAW RULES OR PROVISIONS (WHETHER OF DELAWARE OR ANY OTHER
JURISDICTION) THAT WOULD CAUSE THE APPLICATION OF THE LAWS OF ANY
JURISDICTION OTHER THAN DELAWARE. THE PARTIES AGREE THAT.ALL
DISPUTES, LEGAL ACTIONS, SUITS AND PROCEEDINGS ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR. THE PLAN MUST BE BROUGHT EXCLUSIVELY
IN A COURT OF COMPETENT JURISDICTION LOCATED WITHIN THE SOUTHERN
DISTRICT OF NEW YORK, WHETHER A STATE OR A FEDERAL COURT
(COLLECTIVELY THE “DESIGNATED COURTS”). EACH PARTY HEREBY CONSENTS
AND SUBMITS TO THE EXCLUSIVE JURISDICTION OF THE DESIGNATED COURTS.
NO LEGAL ACTION, SUIT OR PROCEEDING WITH RESPECT TO THIS AGREEMENT
MAY BE BROUGHT IN ANY OTHER FORUM. EACH PARTY HEREBY IRREVOCABLY
WAIVES ALL CLAIMS OF IMMUNITY FROM JURISDICTION AND ANY RIGHT TO
OBJECT ON THE BASIS THAT ANY DISPUTE, ACTION, SUIT OR PROCEEDING
BROUGHT IN THE DESIGNATED COURTS HAS BEEN BROUGHT IN AN IMPROPER
OR INCONVENIENT FORUM OR VENUE.

h. Notices, Any notice in connection with this Award Agreement shall be
deemed to have been properly delivered if it is in writing and is delivered in hand, by reputable
overnight delivery service or sent by registered or certified mail, return receipt requested, to the
party addressed as follows, unless another address has been substituted by notice so given:

To the Participant: To his or her address as listed on the books of the Company.

To the Company:
6525 The Corners Parkway, Suite 520

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with a copy to:

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Norcross, GA 30092-3353
Attn: Steven Taylor
Fax: (770) 414-5848

Weil, Gotshal & Manges LLP
767 Fifth Avenue

New York, New York 10153
Attn: Michael E. Weisser
Facsimile: (212) 310-8007

 
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IN WITNESS WHEREOF, the parties hereto have executed this Award Agreement as of
the date first written above.

PARTICIPANT:

Ba ee
Steve Willis

Address: L1437-Olive-Tree-Cirele 4722 405 a/ Arve
Yorba Linda, CA 92886

 

[STEVE WILLIS — RESTRICTED STOCK AWARD AGREEMENT]

 
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CAPSTONE LOGISTICS HOLDINGS, INC.

Name; Steven Taylor ‘
Title: Chief Executive Officer

[STEVE WILLIS - RESTRICTED STOCK AWARD AGREEMENT]

 
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PARTIALLY-RECOURSE PROMISSORY NOTE

$49,960.08

Dated: July 6, 2015

FOR VALUE RECEIVED, the undersigned, Steve Willis, an individual
residing at 17437 Olive Tree Circle, Yorba Linda, CA 92886 (the “Borrower”), HEREBY
UNCONDITIONALLY PROMISES TO PAY to the order of Capstone Logistics Acquisition,
Inc., a Delaware corporation (the “Lender”) and a wholly-owned indirect subsidiary of
Capstone Logistics Holdings, Inc. (“Holdings”), on the Termination Date (as defined below)
the principal amount of Forty Nine Thousand Nine Hundred Sixty Dollars and Eight Cents
(US$49,960.08) in lawful money of the United States of America (“U.S, Dollars” or “US$”)
and in same day funds or by certified checle,

 

ARTICLE I.
DEFINITIONS

SECTION 1.1. Certain Defined Terms, As used in this Note, the
following terms shall have the following meanings (such meanings to be equally applicable to
both the singular and plural forms of the terms defined):

“Award Agreement” means the restricted stock award agreement
pursuant to which the Restricted Shares were granted to the Borrower
by Holdings.

“Borrower” has the meaning specified in the recital of parties to this
Note.

“Business Day” means a day of the year on which banks are not
required or authorized to close in the State of New York.

“Holdings” has the meaning specified in the recital of parties to this
Note.

“Internal Revenue Code” means the Internal Revenue Code of 1986, as
amended from time to time, and the regulations promulgated and
rulings issued thereunder.

“Lender” has the meaning specified in the recital of parties to this Note.

 

“Loan” has the meaning specified in Section 2.1 hereof.

“Note” means this Promissory Note dated as of the date hereof,

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“Person” means an individual, a corporation, an association, a joint
venture, a partnership, a limited liability company, an estate, a trust an
unincorporated organization and any other entity or organization,
governmental or otherwise.

“Plan” means the Capstone Logistics Holdings, Inc. 2014 Equity
Incentive Plan

“Prime Rate” means an interest rate per annum equal to the prime rate
as published in The Wall Street Journal Eastern Edition on the date
hereof.

“Restricted Shares” means the Shares of Restricted Stock of Holdings
granted on July 6, 2015.

“Stockholders’ Agreement” means that Stockholders’ Agreement dated
August 22, 2014, as amended or modified from time to time, among
Holdings and the other persons named therein.

“Termination Date” means on the earliest to occur of (i) the tenth (10th)
anniversary of the date of this Loan, (ii) any event with respect to
Borrower, which, in any such case if the Loan were to remain
outstanding on and after such date, would result in a violation of
Section 402 of the Sarbanes—Oxiey Act of 2002, (iii) an event
described in Section 4.1 hereof, (iv) a Change in Control (as defined in
the Plan), or (v) an Initial Public Offering (as defined in the
Stockholders’ Agreement),

SECTION 1.2. Computation of Time Periods, In this Note in the
computation of periods of time from a specified date to a later specified date, the word “from”
means “from and including” and the words “to” and “until” each mean “to but excluding.”

: SECTION 1.3. Other Terms. All other terms not defined in this Note
shall have the meaning assigned to such terms in the Plan or the Award Agreement.

ARTICLE IL,
AMOUNT AND TERMS OF THE LOAN

SECTION 2.1. The Loan. The Lender agrees, on the terms and conditions
hereinafter set forth and on the terms and conditions set forth in this Note with respect to the
subject matter hereof, all of which are incorporated herein by reference, to make a loan (the
“Loan”) to the Borrower on the date hereof in the amount set forth above in U.S. Dollars and
in same day funds. Notwithstanding the foregoing, the Borrower hereby directs the Lender to
pay to the Internal Revenue Service or other applicable taxing authority such portion of the
Loan amount that is sufficient to satisfy the obligation of Holdings or any of its affiliates to
withhold any taxes in connection with the grant of Restricted Shares to the Borrower pursuant

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to the Award Agreement. The Borrower acknowledges and agrees that, regardless of the
foregoing direction, the Loan amount shall be deemed to have been received in full by the
Borrower pursuant to the terms of this Note.

SECTION 2.2. Repayment, Except as otherwise provided herein, the
Borrower shall repay the aggregate unpaid principal amount of the Loan and all accrued, but
unpaid interest thereon in a lump sum on the Termination Date. The Borrower may prepay
the aggregate unpaid principal amount of the Loan and all accrued, but unpaid interest
thereon, or any portion thereof, at any time prior to the Termination Date without penalty.
Any vested cash payments (including cash distributions) with respect to the Restricted Shares
made by the Lender or Holdings to the Borrower on or prior to the Termination Date shall be
used to prepay the Loan (including accrued interest) in the amount of such cash payment upon
such payment being or becoming vested.

SECTION 2.3. Interest, The Borrower shall pay interest on the unpaid
principal amount of this Note from the date of this Note until this Note shall be paid in full at
a rate per annum, compounded annually, equal at all times to the Prime Rate. Interest shall
accrue and be paid as provided in Section 2.2 above.

SECTION 2.4. Payments and Computations. The Borrower shall make
each payment hereunder not later than 3:00 P.M. (New York time) on the day when due in
U.S. Dollars to the Lender at its address referred to in Section 5.2 in same day funds, All
computations of interest shall be made by the Lender on the basis of a year of 365 or 366
days, as the case may be, in each case for the actual number of days (including the first day
but excluding the last day) occurring in the period for which such interest is payable.

SECTION 2.5. Payment on Non-Business Days. Whenever any payment
under any Loan Document shall be stated to be due on a day other than a Business Day, such
payment shall be made on the next succeeding Business Day, and such extension of time shall
in such case be included in the computation of payment of interest.

SECTION 2.6. Recourse. The Lender’s recourse against the Borrower
with respect to the Loan shall! not be limited to a foreclosure on the Restricted Shares and the
Lender shall have recourse against any of the Borrower’s real, personal, tangible or intangible
assets for an amount equal to 30% the aggregate principal and interest on the Loan.

SECTION 2.7. Security. Borrower hereby grants to Lender a security
interest in the Restricted Shares as collateral security for the prompt and complete payment
and performance when due of Borrower’s obligations hereunder.

ARTICLE IIL.
COVENANTS OF THE BORROWER

SECTION 3.1. Affirmative Covenants. So long as this Note shall remain
unpaid, the Borrower will, unless the Lender shall otherwise consent in writing:

(a) Compliance with Laws, Etc, Comply in all material respects with all
applicable laws, rules, regulations and orders, such compliance to include, without limitation,

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paying before the same become delinquent all taxes, assessments and governmental charges
imposed upon the Borrower or upon the property of the Borrower except to the extent
contested in good faith.

(b) Reporting Requirements, Furnish to the Lender:

(i) as soon as possible and in any event within five days after the
occurrence of each Event of Default and each event which, with the giving of notice or lapse
of time, or both, would constitute an Event of Default, continuing on the date of such
statement, a statement of the Borrower setting forth details of such Event of Default or event
and the action which the Borrower has taken and proposes to take with respect thereto; and

(ii) such other information respecting the condition or operations,
financial or otherwise, of the Borrower as the Lender may from time to time reasonably
request,

ARTICLE II,
EVENTS OF DEFAULT

SECTION 4.1. Events of Default, If any of the following events (“Events
of Default”) shall occur and be continuing:

 

(a) The Borrower shall fail to pay any principal of, or interest on, this Note
or any other amount under any other Loan Document within 30 days after the same becomes
due and payable;

(b) The Borrower shall fail to perform or observe (i) any term, covenant or
agreement contained in Section 3,1 or (ii) any other term, covenant or agreement contained in
any Loan Document on the part of the Borrower to be performed or observed if such failure
shall remain unremedied for 30 days after written notice thereof shall have been given to the
Borrower by the Lender;

(c) The Borrower shall admit in writing his inability to pay his debts
generally, or shall make a general assignment for the benefit of creditors; or any proceeding
shall be instituted by or against the Borrower seeking to adjudicate the Borrower bankrupt or
insolvent, or seeking liquidation, protection, relief, or composition of the Borrower or of his
debts under any law relating to bankruptcy, insolvency or relief of debtors, or seeking the
entry of an order for relief for the Borrower or for any substantial part of his property and, in
the case of any such proceeding instituted against the Borrower (but not instituted by the
Borrower), either such proceeding shall remain undismissed or unstayed for a period of 30
days, or any of the actions sought in such proceeding (including, without limitation, the entry
of an order for relief against the Borrower or for any substantial pact of his property) shall
occur;

then, the Lender may, by notice to the Borrower, declare this Note, all interest thereon and all
other amounts payable under this Note to be forthwith due and payable, whereupon this Note,
all such interest and all such amounts shall become and be forthwith due and payable, without
presentment, demand, protest or further notice of any kind, all of which are hereby expressly

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waived by the Borrower; provided, that, in the event of an actual or deemed entry of an order
for relief with respect to the Borrower under the Federal Bankruptcy Code, this Note, all such
interest and all such amounts shall automatically become and be due and payable, without
presentment, demand, protest or any notice of any kind,-all of which are hereby expressly
waived by the Borrower.

ARTICLE V.
MISCELLANEOUS

SECTION 5.1. Amendments, Etc, No amendment or waiver of any
provision of this Note, nor consent to any departure by the Borrower therefrom, shall in any
event be effective unless the same shall be in writing and signed by the Lender and then any
such waiver or consent shall be effective only in the specific instance and for the specific
pucpose for which given.

 

SECTION 5.2. Notices, Etc. All notices and other communications
provided for hereunder shall be in writing (including telecopier, telegraphic, telex or cable
communication) and mailed, telecopied, telegraphed, telexed, cabled or delivered, if to the
Borrower, at his address as indicated in the recital of parties to this Note; and if to the Lender,
at its principal executive offices; or, as to each party, at such other address and to such other
individual as shall be designated by such party in a written notice to the other party. Af! such
notices and communications shall, when mailed, telecopied, telegraphed, telexed or cabled, be
effective when deposited in the mails, telecopied, delivered to the telegraph company,
confirmed by telex answerback or delivered to the cable company, respectively.

 

SECTION 5.3. No Waiver; Remedies.- No failure on the part of the
Lender to exercise, and no delay in exercising, any right under any Loan Document shall
operate as a waiver thereof; nor shall any single or partial exercise of any such right preclude
any other or further exercise thereof or the exercise of any other right. The remedies provided
in this Note are cumulative and not exclusive of any remedies provided by law,

 

SECTION 5.4. Binding Effect. This Note shall (a) be binding upon the
Borrower and his personal representatives, estate, heirs, devisees, legatees and assigns, (b)
inure to the benefit of the Borrower and his assigns and (c) be binding upon and inure to the
benefit of the Lender and its respective successors and assigns, except that the Borrower shall
not have the right to assign his rights hereunder or any interest herein without the prior written
consent of the Lender.

 

SECTION 5.5. Governing Law. This Note shall be governed by, and
construed in accordance with, the laws of the State of Delaware without regard to its conflict
of law principles.

 

[SIGNATURE PAGE FOLLOWS]

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IN WITNESS WHEREOF, the Borrower has executed and the Lender has
caused this Note to be executed by its officer thereunto duly authorized, in each case, as of the

date first above written.
: Le
Steve Willis, as Borrower

[STEVE WILLIS —- PROMISSORY NOTE]

 

 
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CONSENTED TO AND ACKNOWLEDGED:

Capstone Logistics Acquisition, Inc.
as Lender

By: SOTA —

Name: Steven M. Taylor
Title: Chief Executive Officer

[STEVE WILLIS —PROMISSORY NOTE]

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STOCK POWER

FOR VALUE RECEIVED, Steve Willis hereby conveys, assigns and transfers unto

, 210,645 shares of common stock of Capstone Logistics Holdings,

 

Inc., a Delaware corporation (the “Company”), standing in its name on the books of said
Company and represented by Certificate No, RS-36, and does hereby inrevoosbly constitute and
appoint Matthew Sedgwick attorney to eansfer the said stock on the books of said Company
with full power of substitution in the premises,

Dated:

5

Steve Willis

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FORM OF JOINDER AGREEMENT

The undersigned hereby agrees, effective as of the date hereof, to become a party to that
certain Stockholders’ Agreement (the “Stockholders’ Agreement”) dated as of August 22, 2014
and as may be amended from time to time by and among Capstone Logistics Holdings, Inc, (the
“Company”), and’the other parties named therein. Capitalized terms used but not defined in this
Joinder Agreement shall have the meanings ascribed to such terms in the Stockholders’
Agreement, The undersigned acknowledges and agrees that (a) the Securities Transferred to the
undersigned shall continue to be subject to the Stockholders’ Agreement, (b) as to such
Secutities the undersigned shall be bound by the restrictions of the Stockholders’ Agreement and
shall take such other actions and execute such other documents as the Company reasonably
requests, and (c) for all purposes of the Stockholders’ Agreement, the undersigned shall be
included within the term Stockholder and that the Securities Transferred to the undersigned shall
be included in the term “Restricted Securities. The address and facsimile number to which
notices may be sent to the undersigned are as follows;

 

Name: Sreven Wotan torhrs
Address: “t/ 27 L2gn/ Awl

Locbse Linda, La P26

 

 

Facsimile No:

 

Date: 7-22.-f 5

Bee —.
Steve Willis

 
